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abjective or authority to.cngage in any trade or business. Subject to Section 3.3.1 of this Agreement,
all payments and disbursements from the Trust by the Trustee shall be made and applied solely for
these purposes, it being understood and agreed that any payments tothe Trustee pursuant to this
Agreement are in furtherance of such purposes; and at no time shall the Trust (or the Trustee on
behalf of the Trust) conduct investment or business activities that compromise these purposes.

2.1.2° Tax Status. Initially, Grace intends, but is not required to ensure, that the
Trust constitutes an “environmental remediation trust,” as: provided by Treasury Regulations
§301.7701-4(c); and the Trust shall at all times be administered, and all provisions of this agreement
shall be construed, in a manner that is consistent. with such intent. At-any time, however, , Grace
may take such steps as are required to elect to tréat the Trust as 4 “qualifi ed settlement fund, ” as
provided by Treasury Regulations §1.468B-1; and, following such election, the Trust-shall at all
times be administered, and all provisions. of this agreement shall be: constined, in a manner that is
‘consistent with such intent. Grace intends that it be considered to be the Trust’s “administrator,”
within the meaning of Treasury Regulations. Neither the State nor the Trustee shall have any duty
or obligation in connection with the tax treatment of the Trust, other than to cooperate in good faith.
with Grace in ‘connection therewith. Grace shall be solely responsible for enstiring: compliance with
the Regulations required of an environmental remediation trust or. qualified settlement find, as the
case may-be. Neither the State nor the Trustee shall be responsible for preparing or filing any reports”
or returns relating to. federal, state, or local income taxes with respect to this Agrcement other than
the Trustee preparing or filing returns or reports forthe Trustee’s compensation, provided, that the
Trustee hereby is authorized to execute and deliver any tax-returns in.such forms presented io it and
shall have no liability with respect to the preparation ‘or content of such tax.retums. With respect to
any amiounts payable under this Agréement, the Parties shall deliver to the Trustee such tax forms
or other documents reasonably requested by the Trustee. as shall be prescribed by the Internal
Revenue Code or other applicable law at such time or times reasonably required by the Trustee,
including such tax forms or other documents, as applicable, ‘to allow the Trustee to determine the
amount to deduct or withhold (and to allow the Trustéé to so deduct or withhold) pursuant to the
Internal Revenue Code, including under. Sections 1471. through 1474 of the Code (FATCA).
Without limiting any other provision of this Agreément,.: the State: expresses io opinion and makes’
no agreements regarding the tax status of the Trust, but leaves.such matters and the resulting tax
consequences to Grace’s discretion.

2.2 Creation of and Transfer of Assets to the Trust:

2.2.1 Establishment of Trust. The Parties hereby irrevocably establish the Trust,
which shall bear the name “IKDID O&M Performance Trust.” Within five (5) business days of the
date hereof, the Trustee shall establish a trust account (the “Trust Account’). The purpose of the
Trust Account shall be to receive and administer the Trust Assets and to facilitate the making of
payments hereunder, all in accordance with this Agreement. Grace shall contribute the Trust Assets
to the Trust in the manner and at the times set forth in the Settlement Agreement. In addition, if the
Surety’s payment on -the Surety Bond ts triggered and Surety contributes funds to the Trust, the
Trustee shall place and maintain such funds in a separate sub-account to ‘be known as the “Pre-2042

KDID O&M Account,” within the Trust-Account. As of December 31, 2042, any funds present in
the Pre-2042 KDID O&M Account shall be transferred to and become part of the Trust.Account,
and that sub-account shall terminate. The State shall have no obligation to contribute assets or
property to thé Trust at any time. The Trustee hereby accepts and agrees to hold the Trust Assets

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in the Trust Account for the benefit.of the Beneficiaries for the purposes described in Section 2.1,
subject to the terms of this Agreement. The Trustee shall have no responsibility, and assumes no
liability, to pursue collection of Trust Asscts to be contributed under the Settlement Agreement
fromany source: Instead, all obligations with.respect to the Settlement Agreement’s requirements
for funding of the Trust ate to be solely exercised by Grace:

2.2.2 Ownership Trust Assets. All legal rights and incidents of ownership of the
Trust Assets shall be held solely by the Trustee. However, except-and until otherwise provided in
this Agreement, Grace shall be treated as the owner of the Trust Assets for federal income tax
purposes pursuant to Treasury Regulations §.301.7701-4(e)(2).

2.2.3 Additional Contributions: The Trustee-is authorized to accept contributions
to the Trust from, and only from, the Parties or the Surety. The Trustee is not required to accept
any contribution that the Trustee believes is not appropriate for administration as part. of the Trust.
Assets.

2:3 Investment and Safekeeping of Trust Assets.

2.3.1 Segregation of Trust Assets. The Trust Assets shall be held in trust and
segregated from all, and shall not be comingled with any, other assets of Grace, the State or the
Trustee.

2.3.2 Investment Requirements. The Trustee shall have the authority to invest the

Trust Assets in such a manner as the Trustee. deems appropriate in the Trustee’s discretion and in.
accordance with the guidelines applicable to the Trust Account set forth in this Section 2.3 (the
“Investment Policy”), as may be amended in writing from tite to time by Grace, the State and the
‘Trustee. The Trustee shall consult initially and from time to. time with Grace and. the State regarding
the nature and allocation of investments.of the Trust Assets. All investment transactions effected
for the Trust Account shall be deemed in compliance with the Investment Policy: unless Grace or
the State notifies Trustee in writing of its objection within sixty (60) days of its receipt of the most
recent Account Statement pursuant to Section 5.1 of this Agreement. The compliance of an
investment with the Investment Policy shall be. determined on the date of purchase, based on the
market value and asset class or type-as of that date compared to the value of the Trust Account as
of the most recent valuation date. :

2.3.3 Investment Provisions.

(a Gash Sweep Vehicle. Grace authorizes the Trustee to automatically
sweep uninvested cash balances in the Trust Account into.(i) any money. market mutual find that
(A) complies with the criteria set forth in () Securities:‘and Exchange Commission Rule 2a-7 under
the Investment Company Act of 1940, as amended, or (II) Securities and Exchange Commission

"Rule 3c-7 under the Investment Company Act of 1940, as‘amended, and (B) has portfolio assets
of at least $5,000,000,000 or (ii) any bank deposit account offered by. a commercial bank which
has a combined capital and surplus and undivided profits of not less than $500,000,000, in each
chosen by Trustee (referred to as “sweep vehicles”), which may include sweep vehicles advised
by the Trustee and/or its affiliates or deposit accounts at the Tnisteé or an affiliated bank. Grace
understands that Trustee will derive financial benefits from affiliated sweep vehicles Gneluding

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PNC Bank, National Association deposit sweep accounts), which benefits are in addition to the
fees set forth in the Schedule of Account Fées described in Section 4.5 of this Agreement.

(b) Investments.in Other Securities. Grace authorizes the Trustee to
invest in: (i) difect obligations of, or obligations the principal of and interest on which are directly
and fully guaranteed or insured by, the United States of America-(or by any agency thereof to the
extent such obligations are backed by the full faith and credit of the United States of America); (ii)
investments in commercial paper having, at such date of acquisition, a credit rating of at least A-2
from S&P or P-2 from Moody's; (iii) repurchase agreements with a term of not more than 180 days
for securities described in clause (i) of this sentence-and’entered into with a financial institution
satisfying the criteria described in clause (11) of Section 2.3.3(a), (iv) corporate debt oe
with a Moody's rating of at: least A3 or an S&P rating of at least A-,-or their equivalent; (v).shares
or units issued by a company that is registered as an-invesiment company under the Investment
Company Act of 1940, as amended, that is traded on-a national securities exchange and has a rating
of at least four stars from Morningstar, Inc4 and (vi) any other security approved. in writing. by
Grace and the State (collectively, “Other Securities”). “Moody’s” means Moody’s Investors
Service, Inc. “S&P” means Standard & Poor’s Rating Services, a Standard & Poor's Financial.
Services LLC business. In each case, Grace understands that the Trustee may receive financial or
advisory fees related to’ the issuance: of the ‘security or instrument, including securities or
instruments for which Trustee (or its affiliates) serve(s).as manager, promoter or placement agent’
or where’ Trustee (or its affiliates) has issued, structured or underwritten the Other Securities.

(c) Disclosure Regarding Use_of Affiliated Products and Services.
Grace understands and agrees thar the Trustee may, if appropriate for the Trust Account, (i) invest
in Funds or Other Securities that are affiliated with Trustee and that these affiliated investments:
may constitute all. of the investments in-the Trust Account; i). engage subadvisors affiliated with
the. Trustee to manage é all ora portion of the assets in the Trust Account; and/ot (iii) engage model
portfolio providers in connection with management of assets in the Trust Account. Grace further
understands that the Trustee may derive financial-and other benefits as a result of the Trustee
purchasing Funds or Other Securities affiliated with Trustee or utilizing subadvisors and/or model
portfolio providers affiliated with Trustee.

. (4) Disclosure Regarding Additional Fund Fees. Grace understands
that the Trustee (and/or its affiliates) may provide advisory or other services to a company that is
registered as an investment company under the Investrnent Company Act of 1940, as amended, (a
“Fund”) which is selected for the Trust.Account and that ‘the Trustee may receive advisory,
recordkeeping, administrative, sharcholder servicing, and/or other fees for such advisory and other
services. These types of fees are paid, directly. or indirectly, by the Fund to the Trustec (and/or its
affiliates) and are described in detail in the prospectus, private offering memorandum or other
offering documents for the Fund. Grace should. carefully read these documents since these fees
will ultimately be borne by the Trust-as an investor in the Fund through the net assct value of the
Fund and cost of Fund shares or units: Fees received by the Trustee from the Funds are in addition
to the compensation paid to the Trustee under this Agreement and may result in the Trust paying
multiple layers of fees for the same asset. Purchases of Fund shares will be made in accordance
with Trustee’s standard practices in effect from time to time.

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(ec) Special Disclosures for Fund Shares. Grace understands that Funds
and Other Securities available through the Trustee are not backed or guaranteed by the Trustee (or
its affiliates), are not bank deposits and are not insured by, issued by, guaranteed by or obligations
of the Federal Deposit Insurance Corporation, the Federal Reserve Board or any other government
agency. Such Funds and Other Securities involve investment risks, including possible loss of
valuc. There is no assutance that sweep vehicles will be able to maintain a stable net asset value
of $1.00 per share, For more complete information about Funds, including charges and expenses,
Grace shall refer to the prospectus, private offering memorandum or other offering documents for
the Funds. Grace acknowledges (i) that it understands the information set forth in this Section
2.3.3 and Gi) receipt and review. of the prospectus or summary prospectus, private offering
memorandum or other offering documents for the selected Funds.

(f) Trustee Selected Brokers. Grace agrees that in cases’ where the
Trustee selects brokers for trades, the Tristee may select brokérs that are riot affiliated with Trustee
or. brokers that-are affiliated with Trustee: Grace consents to transactions for the Trust Account
being executed through brokers affiliated with the Trustee in accordance with this Agreement and
the affiliated broker's execution policies. Grace may revoke the consent provided in this Section
at any time by directions to the Trustee. If the Trustee buys or sells securities for which an
affiliated broker atts:as a dealer or underwritér, the Tristee may buy those securities from, or séll
those securities to, either the affiliated broker or a member of an underwriting syndicate of which
an affiliated broker is a member. Grace consents to brokers selected by the Trustee retaining
commissions, including an affiliate. of the Trustee. Grace further agrees that, if execution. is
through an affiliated broker, the affiliated broker is entitled to. reecive and retain, without credit-or
offset, brokerage ‘commissions, commission equivalents, mark-ups, mark-downs and dealer
spreads: on transactions effected. for the Trust Account, in accordance with the affiliated broker’s
standard fee schedules; Upon request, the Trustee will provide additional information to Grace
concerning commissions, commission equivalents, mark-ups and mark-downs and other
transaction costs. Grace understands and agrees that the Trustee has an indirect financial incentive
to select an affiliated broker to exécute transactions in the Trust Account, as. it results in
compensation to its affiliate.

(g) Brokeraze Fees and Pricing. The Trustee will seck to obtain best
execution in selection of brokers (both affiliated and unaffiliated, as applicable) for execution of
securities trades for the Trust Account. When selecting brokers the Trustee may take into account
the full range and quality of brokerage services including execution capability, trading expertise,
accuracy of execution, commission rates, research, reputation and integrity, fairness in resolving
disputes, financial responsibility, responsivertiess, and any other relevant factors. The Trustee also
may consider brokerage and research services provided by brokers even though the Trust Account
may not benefit from such research. Broker commission rate is one component of price and a factor
considered with other factors, The Trustee will not be obligated to. seck the lowest commission
rate in advance of a Trust Account transaction or to select brokers based on its purported
commission rate. Accordingly, the Trustee shall not be deemed to have acted unlawfully solely for
causing Grace to pay a higher commission for a securities trade than other brokers would have
charged for the same transaction.

(h) Aggregation of Trades. The Trustee may, in its sole discretion, but
is not required to, combine purchases and sales of securities held in the Trust Account with

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purchases and sales occurring on the same day of the same securities held in accounts of other
clients of the Trustee (or its affiliates), When securilics transactions are combined, the actual prices
applicable to thé combined transactions.may be averaged, and the Trust Account and the other:
accounts may be deemed to have purchased or sold their proportionate shares of the securities
involved at the average price then calculated. Grace understands that the Trustee may not be able
to seck better pricing or lower costs on secitrities transactions by combining Trust Account
securities transactions as described in. this Section 2.3.3(h) and that combined securities
transactions may or may not benefit the Trust Account.

2.3.4 Construction of Investment Authority. Nothing in this Section shall be
construed as authorizing the Trustee to cause thé Trust to carry on any business or to divide the
gains therefrom, including the business of an investment company, or a company “controlled” by
an “investment company,” required to register as such under the Investinent Company Act of 1940,
as amended, The sole purpose of this Section 2.3 is to authorize the investment of the Trust Assets
or any portions thereof.as. may be reasonably prudent pending use of the Trust Assets for the
purposes ofthe Trust. Each of the Bencficiaries acknowledge and agree to the provisions of Section
2.3.

ARTICLE
DISPOSITION OF TRUST ASSETS

3.1 Distributions for KDID O&M Costs. The Trustee shall distribute to or for the
benefit of Grace (or the State, under the limited conditions described in Section 3.13
[Nonperformance Determination] or Section 3.1.4 [Cessation of Grace]) such amounts, at such
times, as Grace or the State may incur'as KDID O&M Costs in accordance with the standards
prescribed in the Settlement Agreement (which the Trustee shall have no duty to verify or confirm).
Distributions shall be made only in- accordance with Statements provided to the Trustee pursuant
to the provisions of this Article HL.

3.1.1 General Intent. As provided in the Settlement Agreement, to the greatest
extent practicable, the Parties intend that no distributions will be made by the Trustee. until January.
1, 2043 (except for any funds that may be distributed from the Pre-2042 KDID O&M Account).
Distributions for KDID O&M Costs may be made from the Trust, including the sub-account, in
accordance with Section 3.2. ,

3.12 RESERVED.

3.1.3 KDID O&M Nonperformance Determination, If, at any time after:
December 31, 2025, DNRC certifies in a writing delivered to Grace and the Trustee, that all.
requirements have been met for a Nonperfonnance Determination, including providing Grace an
opportunity to cure such nonperformance in accordance with the Settlement Agreement, the State
may assume all rights and authorities of Grace under this Agreement with respect to such KDID-
O&M work described in the Nonperformance Determination, including the right to request and
obtain distributions in accordance with 3.2.

3.1.4 Cessation of Grace. Pursuant to Section 6(e) of the Settlement Agreement,
upon notice from the State to the Trustee and Grace, accompanied by documentation of the basis

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for the notice, if Grace (or any merged or successor entity that assumes Grace’s obligations to the
State under the Settlement Agreement) ceases to exist or fails to continue to operate as a going
concern, all rights and authorities of Grace under this Agreement shall automatically and without
further action cease, and all Trust Assets shall inure completely to the benefit of the State only
without any prerequisite Nonperformance Determination referenced in Section 3.1.3; provided,
however, Grace shall have thirty (30) days after such notice to object to any asseition of Grace’s
cessation ina writing delivered to the Trustec and the State.

3.2 Process for Issuance of Distributions. The Trustee shall make distributions for
KDID O&M Costs under Section 3.1 to Grace or the State (under the conditions described in
Section 3.1.3 or Section 3.1.4, which governs the State’s contingent rights to distribution), as the
case may be, in accordance with the following provisions.

. 3.2.1 Distribution Request. The Beneficiary seeking the distribution shall submit
to the: Trustee and the other Beneficiary:

. (a) A statement seiting forth the exact amount of the distribution (the
“Statement’), upon which the Trustee may conclusively rely;

(b) | A-written certification that the distribution is for KDID O&M Costs
within the restricted purposes of the Trust and the Settlement Agreement and, in the case of a
distribution from the Pre-2042 KDID-O&M Account, that such distribution does not decrease the
balance of Trust Account, at any time during the year in which such distribution is to be. made,
below the “Maximum Sum of Bond Amount in Given Default Year” for the following year. as
reflected on the Surety Bond Amount Schedule attached to the Settlement Agreement as Exhibit
B, which certification shall set forth the amounts necessary to demonstrate compliance with such
requirement;

{e) For completed KDID O&M that has already been paid for by the
Beneficiary seeking distribution, the invoices and receipts sufficient to demonstrate that work (or
the relevant portion thereof) has been performed and payment has been made (which the Trustee
-Shall- have no duty to review);

(d) For distributions directly to a contractor or vendor (without advance
payment by the Benieficiary seeking distribution), a copy of the contract for the performance of the
work accompanied by the relevant invoice(s) for payment due to the specified contractor or vendor
(which the Trustee shall have no duty to review) and

(ec) Trustee shall have no responsibility te confirm receipt of any or all
required supporting documentation for each distribution or the completeness of any such
supporting documentation provided with each distribution request other than to confirm a
distribution request has been received from an authorized Beneficiary.

3.2.2 Distribution Payment. Within three (3) business days after receipt of a
distribution request submitted in accordance with Section 3.2.1, the Trustee shall issuc ‘such
distribution in accordance with the Statement.

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3.3 Terminating Distributions. Upon the conditions, and to the extent, provided in this
Section 3. 3, the remaining Trust Assets shall be distributed in accordance with this Section 3.3;
and the Trust shall terminate.

3.3.1 RESERVED. ~

3.3.2 Upon Expiration of Term. Consistent with the terms of the Settlenient
Agreenient, the Trust shall terminate on March 31,2122. The Trustee shall not unduly prolong the
duration of the Trust and shall, following the date provided in the immediately preceding sentence,,
endeavor to resolve, settle, or otherwise dispose of all claims against the Trust pursuant to written
instructions from the Beneficiaries, and then (unless otherwise directed in writing by agreement.
between the State and Grace) shall distribute the remaining Trust Assets to Grace and the ‘State
equally, subject to the prior payment of the Trustec’s fees, expenses and indemnities accrued
through the date of termination.

343.3 Upon Certification of a Condition of Early Termination. Consistent with the
terms of the Settlement Agreement, the Trust shall terminate if either the State or Grace certifies in
writing. to the Trustee and the other Beneficiary, that a Condition of Early Termination has been
met pursuant to Section. 6(a)(ili) or Section 6(d)(i) and such other Beneficiary does not within thirty.
(30) days after actual receipt of such certification object to the termination of the Trust in writing
to the Trustee arid the Beneficiary making such certification. In accordance with such certification
in the absence of objection from the other Beneficiary, the Trustee shall effect terminating,
distributions of the remaining Trust Assets to Grace, subject to the prior payment of any outstanding
Tnustee’s-fees, expenses and indemmities accrued through the date: of termination.

ARTICLE IV
TRUSTEESHIP

4.1 Appointment. PNC Bank, National Association, not in its individual capacity, but |
in ifs representative capacity as Trustee, is hereby appointed to serve as the Trustee to administer
the Trust in. accordance with the terms of this Agreement, and the Trustee hereby accepts. such
appointment and:agrees to: serve in such representative capacity, effective upon the date of this .
Agreement.

42 [Reserved]

4.3. General Authority and Obligations. The Beneficiaries intend that the Trustee’s
powers be exercisable solely ina manner that is consistent with, and in furtherance of, the purposes
of the Trust set forth in this Agreement, consistent with Settlement Agreement, and not otherwise.
The Trustee undertakes to perform such duties, and only such duties, as are specifically set forth
in this Agreement. No implied duties, covenants or obligations shall be read into this Agreement.
The Trustee shall have the authority to bind the Trust, and any successor Trustee, or successor or
assign of the Trust, but shall for all purposes hereunder be acting in its representative capacity as
Trustee and not individually. The Trustee shall have no obligations to perform any activities for
which the Trust lacks sufficient funds. The Trust and the Trustce shall not and aré not authorized
to engage in any trade or business with respect to the Trust Assets or any proceeds therefrom.

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4.4 Powers. The Trustee shall have the following powers in administering the Trust.

44.1 Pennsylvania Law. Except as otherwise provided in this trust agreement, the
Trustee shall have all powers granted to trustees under 20 Pa. C.S.§ 7780.5 and 20 Pa. C.S.§.7780.6..

4.4.2 Additional Powers. Without limiting the Trustee's powers-under 4.4.1 in-any,
manner, the Trustee is further authorized to perform any and all acts necessary to accomplish the
purposes of the Trust and facilitate the Parties’ compliance with the Settlement Agreement,
including the execution (inchiding on behalf of the Trust) of agreements, instriments and other
documents necessary to implement this Agreement, the Settlement Agreement, or any order of the
Court or'as may be necessary and proper to carry out the provisions of this Agreement, and, to the
extent directed by the Beneficiaries in writing, the Settlement Agreement. Additionally, the Trustee
may, among-other things, invest the Trust Assets as provided in this Agreement and file documents
in Court on behalf of itself and the Trust.

44.3 ‘Limitations on the Trustee’s Authority. The Trust.and the Trustee shall not
and aré not authorized to. engage in any trade or business with respect'to the Trust Assets or-any
proceeds ‘therefrom, Without limiting the Trustee’s right to: payment of its fees, expenses ‘and
indemnities hereunder, the Trustee shall not make distributions for purposes other than as. expressly
set forth in Article II of this Agreement. Notwithstanding anything : to the contrary in. this
Agreeriient, the Settlement Agreement, 20 Pa. C:8.§.7780.5, 20 Pa. C.S-§ 7780.6 or any other law,
ithe Trustee shall not have the power to resolve any dispute between oramong. the Beneficiaries, the
Parties. and/or any other Person regarding the interpretation, application or -eriforcement of this
Agreement or the Settlement Agreement and/or the administration: of the Trust, including through
thediation, arbitration or other alternative dispute resolution procedures.

4S. Compensation. The Trustee shall be entitled to receive compensation from Grace
for its services under this Agreement in accordance with the Schedule of Account Fees, a copy of
which the Trustee delivered to the Beneficiaries with this Agreement. Additionally, brokerage fees
-and commissions may be charged to the Trust Account in connection with certain securities trades
executed by the Trustee and subadvisors in accordance with this Agreement. In consideration for
receiving commissions from the Trust Account, brokerage firms: ‘may. provide: Trustee with
‘research, products and other services which may be used to assist Trustee in providing investment
advice the Beneficiaries and other clients. Grace authorizes the Trustee to debit the Trust Account
(or such other PNC. Bank account owned by Grace as Grace. may request) for the Trastee’s
compensation in accordance with the Schedule of Account Fees then in effect and all of the other
costs.and expenses described above. Within forty-five (45) days after receipt by Grace of a
Statement from the Trustee setting forth (a) the amount.of any:compensation, fees or expenses duc
to the Trustee; or (b) any amount debited from the Tnist Aécount during the Statéenient peridd,
Grace shall transfer funds in the amount of such debit, compensations { fees or expenses to the Trust
to be added to and included as part of the Trust Assets in order to reimburse the Trust in full for
any amounts. debited from the Trust Account by the Trustee pursuant to.this Section 4.5, Section
4.6, Section 4.7 or Article VI. Within one (1) day of the expiration of such forty-five (45) day
period, Gracé shail notify the State if Grace does not transfér such additional funds to the Trust in
accordance with the immediately preceding sentence.

46 Limitation on Liability of Trustee.

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The following provisions shall govern the Trustee’s rights, powers, obligations and duties
under this Agreement, notwithstanding anything herein to the contrary:

(a) Absent actual fraud, bad faith, willful misconduct, gross negligence
or a material breach of its obligations under this Agreement as established by a final judgement of
the Court no longer subject to appeal: (i) the Trustee shall incur no liability for any action taken or
omittéd to.be taken in accordance with any instniction, direction or request of a Beneficiary that
isnot inconsistent with the terms of this Agreement, including with regard to-distributions under
Article I; and (13) the Trustee shall not be liable for any loss to the Trustor any claim of inequality,
partiality or-unreasonableness resulting from any action taken in accordance with such direction.
The Trustee shall have no duty or obligation to review or confirny whether any action taken by it
pursuant to any such instructions, directions or requests complies with the terms of this Agreement
(unless such instruction, direction or request on its face is not consistent with the terms of this
Agreement), the Settlement Agreement or any other agreement, order or instrument. The Trustee
shall have no duty to provide advice to, or communicate with or warn or.apprise, any Beneficiary
concerning instances in which the Trustee. would or might have exercised the Trustee’s own:
discretion in a manner different from the manner directed by a Beneficiary.

(b) No provision of this Agreement, the Settlement Agreement, or any
Court order shall require the Trustee to expend.or risk its own personal funds. or otherwise incur
any personal financial liability in the performance of any.of its duties or the exercise of any of its
authorities as Trustee hereunder. Notwithstanding the foregoing, the: Trustee shall satisfy from its
own fundsany liability imposed by a court of competent jurisdiction on account of Trustee’s actual.
fraud, bad faith, willful misconduct, gross negligence or-material breach of its obligations under
this Agreement. .

(c) The Trustee shall not be deemed to have knowledge of any event or
information held by or imputed to any Person: (includitig, an affiliate, or other line of business or
division of the Trustee) other than itself in its capacity as Trustee. The Trustee shall not be deemed
to have notice or knowledge of any event or information, or be required to act upori:-any-everit or
information (including the sending of any notice), unless a Responsible Officer of the Trustee
receives written notice thereof and such notice references the fact or event. “Responsible Officer’
means any officer of the Trustee with direct responsibility for the administration of this Agreement.
The availability or delivery (including pursuant to this Agreement) of reports or other documents
(inchiding news or other publicly available reports or documents).to the Trustee shall not constitute
actual or constructive knowledge or notice of information contained in or determinable from those
reports or documents, except for such reports or documents that this Agrcement expressly requires.
the Trustee to review. .

(a) Any Person (i) into which the Trustee may be merged: or
consolidated, (ii) which may result from any merger, conversion, or consolidation .to which the
Trustee shall be a party or (iii) which may succeed to all or substantially all of the corporate trust
business of the Trustee shall be the successor of the Trustee hereunder, without the execution or
filing of any instrument or any further act on the part of any of the parties. For purposes of this
Agreement, “Person” means an individual, corporation, company, partnership, association, joint
stock company, statutory or common law trust, unincorporated organization, joint venture,
governmental authority, limited liability company, limited liability partnership or other entity.

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{e) The Trustee may act directly. or through its agents, attorneys,
custodians, servicers, managers, nominees or other skilled professionals, and the Trustee shall not
be held responsible or liable for, or have any duty to supervise, any action, inaction, misconduct,
or negligence.of any such Persons selected by the Trustee with due care. Any expenses incurred
by the Trustee in acting through agents, attorneys, custodians, scrvices, managers or other skilled.
professionals shall be debited from the Trust Account in accordance with Section 4.5.

(f The Trustee shall not be responsible or liable for special, indirect,
punitive, or consequential loss or damage of any kind whatsoever: (including loss. of profit)
irrespective of whether the Trustee has been advised of the likelihood of such loss or damage and
régardless of the form of action.

(g) The Trusteé shall be entitled. to rely coriclusively, without
investigation or other action on its part, on statements opinions, certificates, reports, directions,
signatures, instruments, notices, advice, requests, waivers, consents, receipts, resolutions, bonds,
calculations and other documents purported to -be teccived from any Beneficiary, as. contemplated
by this Agrecment, not only as to due execution, validity and effectiveness, but also as to the truth
and accuracy of any information contained. therein, and such reliance: shall not. constitute
negligence (or gross negligence), bad faith or willful misconduct-in connection with the Trustee's
handling of funds or otherwise, and: the Trustee shall not be. liable or. accountable to any Person by
reason of such reliance. The Trustee shall not be responsible for the content oraccuracy of any
stich dectmenis provided to the Tristee, and ‘shall not be required to recalculate, certify, or verify
any information contained therein.

(h) The Trustee may, at the expense of the Beneficiaries (1) request, rely
on and act in accordance with officer’s certificates of the Beneficiaries and opinions of counsel,
and (i) consult with, and request advice from, legal counsel selected by the Trustee as to any
matters arising in connection with this Agreement, the interpretation and administration of any of
the provisions of this Agreement or the Trustee's tights and ‘obligations under this Agreement.
The Trustee shall incur no liability and shall be fully protected in acting or refraining from acting
in accordance with such officer’s certificates and opinions of counsel and the written or oral advice
of such legal counsel selected by the Trustee in good faith.

{i} The Trustee shall incur no liability if, by reason of any provision of
any present or future law or regulation thereunder, or by any force majeure event, including but
not limited to any act of God, natural disaster, epidemic, pandemic, quarantine, shelter-in-place or
similar directives, guidance, policy or other action by any governmental authority, accidents, labor
disputes, disease, national emergency, loss or malfunction. of utilities or- computer sofiware or
hardware, the unavailability of the Federal Reserve Bank. wire or telex or other wire or
communication facility, acts of war, terrorism, insurrection, revolution or other circumstances
beyond: its reasonable control, the Trustee shall be prevented or forbidden. from doing or
performing any act or thing which the terms of this Agreement provide shall.or may be done or
performed, or by reason of any exercise of, or failure to exercise, any discretion provided for in
this Agreement.

G) The Trustee shall not be required to take any action hereunder if it
shall have reasonably determined, or shall have-been advised by its counsel, that such action is

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likely to result in liability on the part.of the Trustee or is contrary to the terms hereof or is not in
accordance with applicable laws.

(k) Any permissive or discretionary act or privilege of, or right or power
conferred upon, the Trustee enumerated in this Agreement shall not be deemed to be or otherwise
construed as.a duty-or obligation, and the Trustee shall not be personally liable or accountable for
the performance of any such act, privilege, right or power except as otherwise expressly provided
herein.

(1) Thé Trustee shall not be held responsible or liable for or in respect
of, and makes no representation or warranty with respect to-() the preparation, filing, correctness.
or accuracy of any financing Statenient, continvation statement. or recording of any document |
(including this Agreement) or instrument:in any public office:at any time, or (ii) the monitoring,
creation, thaintenance, enforceability, existence, status, validity, priority or perfection of any:
security interest, lien or collateral or the performance of any collateral.

(m): The Trustee-shall not be heldtesponsible or liable for or in respect
of, and makes no representation or warranty with respect to, the correctness or enforceability of
the recitals contained in this Agreement or in any related document.

(n) The Trustee shall not be held responsible or liable for, and shall have
no duty to supervise, investigate or monitor, the actions or.omissions of any other Person, including
the Beneficiaries, in connection with this Agreement of otherwise, and except as expressly sét forth
in Article III of this Agreement, the Trustee: may-assume performance by all such Persons of their
respective obligations.

(0) In the event that (i).the Trustee is unsure-as to. the application or
interpretation of any provision of this Agreement, (ii) this Agreement is silent or is mcomplete.as
to the course of action that the Trustee is required or permitted to take with respect to a particular
set of facts, or (iii) more than one methodology can be. used to make any determination to. be
performed by the Trustee hereunder, then the Trustee may give written notice to the Beneficiaries
requesting joint written instruction and, to the extent that the Trustee acts or refrains from acting:
in good faith m accordance with any such written instruction, the Trustee shall not be personally.
liable to any Pergon. If the Trustce’shall not have received such written instruction within ten (10)
days of delivery of notice to. the Beneficiaries (or within such shorter period of time as may
reasonably be. specified in such notice or as may.be. necessary, under the circumstances) it may, but
shall be under no.duty to, take or refrain from taking any action, and shall have no liability to any
Person for such action or inaction.

(p) In order to verify Grace’s identity and/or determine the authority of
the person opening the Account, both: WR. Grace & Co. and KDC must submit to the Trustee a
completed Certification Regarding Beneficial Owners of Legal Entity Customers attached as
Appendix II to this Agreement at the time the Account is opened and at such other. times as the
Trustee may request. Grace agrees that if requested by the Trustce, Grace will provide copies of
its governing documents and any other documentation requested by the Trustee to verify the
information provided on Appendix IL Grace understands, however, that the Trustee assumes no
responsibility and has no obligation to review Grace’s governing documents for any purpose other

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than to verify Grace’s identity and/or the authority to open the Trust Account. Grace certifies that
it is authorized to disclose the information provided in the Certification Regarding Beneficial
Owners of Legal Entity Customers and, to the best of its knowledge, certifies that the information
is complete and correct. Grace authorizes the Trustee to share the information provided in the
Certification Regarding Beneficial Owners of Legal Entity Custorners with any individual
authorized to open or update the Trust Account.

(q) The Trustee shall have no notice of, shall not be subject to, and shall
not be required to comply with, any other agreement unless the Trustee.in any capacity. is a party
thereto and has executed the same, even though reference thereto may be made herein.

(r) Whenever the Trustee (a) receives any amounts, the application or
disposition of which is not clearly-addressed hereunder, (b) determines that it is uncertain about
how to distribute any antounts which it has received, or.(c) determines that there is any dispute
among the Beneficiaries hereto about-how such amounts should.be distributed, the Trustee may
choose.to defer distribution of the amounts which are-the subject of such uncertainty or dispute.
If the Trustee in good faith believes that the uncertainty or dispute will not be promptly resolved,
the Beneficiaries agree that the Trustee shall have the right, at its option, to deposit with, or
commence-an interpleader proceeding i inrespect-of, such amounts in the Court for a determination
by the Court as.to the correct application of such amounts heretinder.

(s} Each of the Beneficiaries hereby agrees that (y) the Trustee (A)
except as otherwise expressly set:forth herein, has not provided nor will it provide in the future,
any advice, counsel or opinion regarding this Agreement or the transactions contemplated hereby,
including with respect to the tax, financial, investment, securities law or insurance implications
and consequences of the consummation, funding and ongoing administration of this Agreement or
the initial and ongoing selection and monitoring of financing arrangements, (B) has not made any
investigation as to the accuracy or compléteness of any representations, warranties or other
obligations of any. Person under this Agreement or any other document or instrument (other than
the Trustee’s representations and warranties, if any, expressly set forth in this. Agreement) and
shall not have: any liability i in connection therewith and (C) has not prepared. or verified, nor shall
it be responsible or liable for, any information, disclosure or other statement in a any disclosure.or
offering document delivered in. connection with this Agreement;.and (z) it will make its own
decisions regarding its rights and protections and will not rely on the Trustee regarding such
decisions,

it) All written directions given by any Beneficiary to the Tnistce
relating to the Trust Assets must be in writing, signed by a representative of such Beneficiary
identified on Appendix I hereto (an “Authorized Person’ *) and delivered to the Trustee, as such
Appendix I may be amended from time to time by a Beneficiary by notice to the Trustee delivered
in accordance with this Agreement, Directions may be delivered to the Trustee in person or by.
U.S. Mail, overnight courter, facsimile or email. Email directions will be deemed authorized and
signed by an Authorized Person if sent from an email address provided in Appendix I (Authorized
Persons) attached to this Agréemicrit, as the same may be uMated from time to time by the
Beneficiaries and delivered to the Trustee (“Authorized Persons List”), with visible electronic
copies to all other Authorized Persons. The Trustee will have no liability under this Agreement
for relying on and acting upon any form of-directions which it believes to be genuine. If an

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Authorized Person uses email to send directions to the Trustee, the applicable Beneficiary will
cause all Authorized Persons to scnd emails from the email address provided. in the: Authorized
Persons List. The Trustee will assume.that all emails sent from a designated email address have
been authorized and sent by an Authorized Person, until either Beneficiary notifies the Trustee by
delivery ofan updated Authorized Persons List that the email address is no longer valid. All emails
stnt by the Trustee to an Authorized Person's designated-eniail address will be deemed delivered.
when sent by the Trustee; however, nothing in this Section shall reduce the Trustce’s obligations
to provide certain notices by means other than email in accordance with Section 6.7. With-respect
to notice for which orily email is required pursuant to this Agreement, each Bencficiary waives all
clainns restilting from an Authorized Person’s failure to reecive sent emails. The Trustee will be
-deemed to have received and accepted directions (and obligated to act on the directions) only when
the Trustee has received and had a reasonable time, taking into account the:manner and nature of:
the directions, to review the directions and confirm to the applicable Beneficiary that the directions
have. been: accepted by the Trustee. Under no circumstances will telephone, ‘telephone yoice
messaging, and other forms-of telephonic, otal. communication, text, skype or other forms of
instant messaging constitute valid and effective directions under'this Agreement.. The Trustee’s.
execution of any directions requires a commercially reasonable period of tinte for processing and
is subject to the Trustee's internal policies and procedures, customary processing guidelines and
securities deadlines, mutual fund company processing deadlines, and applicable market closings.

(u)) The Trustee shall not be liable for failing to comply with its
obligatioiis under this Agreement or any telated document in so far as the performance of such
obligations is dependent upon the timely receipt of directions and/or other information from any
Beneficiary which are not-received or not. received by the time required. The Trustee shall-not
have any responsibility for the accuracy of any information provided to any other Person that has
been obtained from, or provided to the Trustee by, any Beneficiary:

47  Exeulpation and Indemnification. The Trustee shall not be personally liable for any
claim, cause of action, or other assertion of liability arising out of or in relation to the discharge of
the powers and duties conferred upon the Trust and/or Trustee by the Settlement Agreement or
this Agreement unless the Court, by a final order that is not reversed on appeal, finds that the:
Trustee committed actual fraud, bad faith, willful misconduct, or gross negligence or materially’
breached its obligations under this. Agreement in relation to those powers or duties. There shall be
an irrebuttable presumption that any action taken or not taken with the express approval of the
Court does nofconstitute an-act of actual fraud, bad faith, willful misconduct, or gross negligence
or a material breach of this Agreement. Except as set forth in the preceding sentence, the Trustee
shall have no liability for any action taken, or errors in judgment made, in good faith by it or any
of its officers, employees or agents.. Nothing in this Agreement shall be construed to exculpate the
Trustee from any liability resulting from any act or omission constituting actual fraud, willful
misconduct, or gross. negligence or a material breach of this Agreement (in each case as determined
by a final, non-appealable order:from a court of competent jurisdiction),

To the fullest extent permitted by law and without prejudice to any separate agreement relating to
indemnification of the Trustee, Grace shall indemnify, protect, defend and hold harmless the
Trustee (in its capacity as such and in its individual capacity), its affiliates and their yespective
directors, officers, employees, shareholders, representatives, trustees, grantors, beneficiaries,
certificate holders, members, agents, attorneys, accountants and their heirs, successors and

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permitted assigns (each, an “Indemnified Person”) from and against any and all fees, expenses,
damages, losses, claims, liabilities, penalties, causes of action, demands, judgments, taxes
(excluding any taxes of the Trustee on, or measured by, compensation received by the Trustee),
suits or costs (in each case including reasonable. attorneys” fees and expenses, court costs and costs
of investigation) of any Kind or nature whatsoever arising out of or in connection with this
Agreement that may. be imposed upon, incurred by or asserted against such Indemnified Person,
including in connection with (i) the exercise or performance of any of the Trustee’s rights, powers
or duties hereunder, and (ii) any enforcement (including any dispute, action, claim or suit brought)
by the Trustee of any indemnification or other obligation of Grace (each of the foregoing, a
Claim”); provided, that Grace shall not be required to indemnify an Indemnified Person for any
Claim resulting from such Indemnified Person’s actual fraud, gross negligence, bad faith or willful
miscoriduct or material breach of this Agreement (in each case, as determined bya final, non-
appealable order from:a court of competent jurisdiction). Notwithstanding the foregoing, unless:
and until a final, non-appealable order of a court of competent jurisdiction determines that an
Indemnified Person acted: with gross negligence, bad faith or willful misconduct or materially
breached this Agresment, Grace shall advance or reimburse, as reasonably determinable by the
Trustee, any and all amounts due to such Indemnified Person pursuant to the foregoing indemnity.

48 Termination / Resignation of the Trustee. The duties, responsibilities, atid powers
of the Trustee will terminate on thedate the Trust is terminated in accordance with this Agréement,
or by an order of the Court. Further, the Trustee. may resign at any. time by. giving at least thirty
(30) days prior written notice thereof to the Beneficiaries and any Co-Trustee; and the resignation
shall become effective upon the delivery of the Trust Assets to the successor Trustee appointed
under-4.10. Sections 4.5 through 4.7 above shall survive the termination or assignment of this
Agreement and the resignation or removal of the Trustee,

4.9 Replacement. The Trustee may be removed, with or without cause, and replaced
upon thirty (30) days written notice by a joint written determination of the Beneficiaries, The
removal shall become effective: upon the delivery of the Trust Assets to the- successor Trustee
appointed under 4.10,

4.10 Appointment of Successor Trustee. If, at any time a successor Trustee is required
for any réason, such successor shall be jointly appointed j in. writing. by the Beneficiaries. Any
successor Trustee. “appointed hereunder shall execute-an instrument accepting such appointment
hereunder and shall file such acceptance with the Parties. Thereupon, such successor Trustee shall,
without any further act, become vested with all the properties, rights, powers, trusts, and duties of
its predecessor in the Trust with like effect as: if originally named herein; and-a removed or
resigning Trustee shall, when réquested in writing by the successor Trustee, execute and deliver
an instrument or instruments conveying and transferring to such successor Trustee under the Trust
all the Trust Assets in the custody of such predecessor Trustee. A successor Trustee appointed
under this 4.10-shall be a national banking association, or bank or:trust company chartered under
the laws of Pennsylvania, having a.capital and surplus of at least $200,000,000. If no successor
Trustee is timely appointed, and shall have timely accepted such appointment, then the Trustee
may, at the sole expense of Grace (including with respect to attorney’s fees and expenses), petition
the Court for the appoimtment of a successor Trustee.

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4.11 NoBond. Notwithstanding any state law te the contrary, the Trustee, including any
‘successor Trustee, shall be exempt from giving any bond or other security in any jurisdiction.

ARTICLE V
TRUST RECORDS, TAX REPORTING

5.1 Accounting The Trustce will provide quarterly statements to the Beneficiaries that
include a listing of all transactions, receipts, and disbursements during the preceding quarter,
together with a current listing of the Trust. Assets held in the Trust Account (‘Account
Statetnents”). Each of the Beneficiaries agrees that the Account Statements in a form customarily
used by the Trustee with respect to its trust accounts are acceptable as confirmation of all Trust
Account transactions. Each of the Beneficiaries understands that it may, at no additional cost,
request. from Trustee a more detailed transaction report which may be Trustee’s form of
confirmation or a broker dealer’s confirmation, as applicable. Upon receipt of Account
Statements, éach of the Beneficiaries. agrees to promptly review them and to file any objections
within sixty (60) days after the receipt.of the Account Statement. If no objection i is received by
Trustee within the sixty (60)-day period, the Account Statement will be deemed approved and
ratified by the Beneficiaries and will be final and binding on the Beneficiaries. On or before
February 1 of each calendar year, the Trustee shall provide the Beneficiaries with a statement
reflecting: the Trust Assets’ balance, as of December 31 of the. immediately: preceding. year;
summarizing all Trust transactions from such preceding year.

5.2 Trust. Records. The Trustee shall maintain proper books, records, and accounts
relating. to all transactions pertaining to the Trust, and-the assets and liabilities of the Trust, in such
detail and for'such period of time as may be necessary to enable the Trustee to make full and proper:
accounting required under tle Section 5.1 and to comply with applicable provisions of faw and
good accounting practices; and the Beneficiaries shall have the right, upon reasonable advance
written notice delivered ta the Trustee, to inspect such books and records. . Except as: otherwise.
provided herein, or as reasonably directed by the Beneficiaries in writing, the Trustee shall not be
required to file. any accounting or seck approval of the Court with respect to the administration of
the. Trust, or.as a condition for making any payment.or distribution out of the Trust Assets.

$3 Tax Information, Subject to definitive guidance from the Internal Revenue Service
or a judicial decision to the contrary, the Trustee shall furnish to Grace or any other party”
contributing Trust Assets to the Trust such statements and additional information as to-items of
income, deduction, and credit of the trust for that tax year attributable to the portion of the Trust:
treated as owned by that party in accordance with Treasury Regulations § 1.671-4 and § 301.7701-

4(e{2).

5.4 Online Account Access. The Beneficiaries may elect to. register to use password
protected sections of websites sponsored by PNC Bank, National Association through which the
Beneficiaries can access the Trust Account (“Sites”). The Beneficiaries will be required to accept
a website user agreement(s) for the Sites (the “Website Agreement”). If there is a conflict between.
the terms of a Website Agreement and this Agreement, the terms of the Website Agreement will
apply to the Partics’ use of the Site.

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5.5 Tax Reporting. To the extent directed in writing by the Beneticiarics, the Trustee:
shall also file (or cause to be filed) any other statements, returns, or disclosures, each in the form
presented to the Trustee, for filing relating to the Trust that are required by any applicable
governmental unit (which the Trustee shall have no duty to verify or confirm).

ARTICLE VI
MISCELLANEOUS PROVISIONS

61 Amendments and Waivers. Any provision of this Agreement may. be amended or
waived only by mutual written consent of the Trustee, the State, and Grace. Consent will not be
unreasonably withheld for an amendment proposed by Grace the sole effect of which is to further
the Trust’s qualification as an “environmental remediation trust,” provided that such change: does
not affect the substantive rights or obligations of the Parties or the Trustec. All fees, costs and
expenses (including reasonable attorneys’ fees, costs and expenses) incurred by the Trustee in
connection with any amendment or waiver shall be payable by Grace.

6.2 Tax Treatment. The Trust created by this Agreement is intended by Grace to be
treated as an Environmental Remediation. Trust for federal income tax purposes and, to the extent
provided by law, this Agreement shall be governed and construed in.all respects consistent with
such intent.

6.3 Cooperation. The Trustee shall take such actions and execute such documents as
are reasonably requested by the Beneficiaries in writing with respect to effectuating the Settlement:
Agreement and this Agreement and the transactions contemplated thereby. To the extent that the
Beneficiaries request the Trustee to take such anaction, the Trustee shall do-so at the sole expense
of Grace, who agree to separately fund and pay such expense(s).

6.4 Governing Law: Jurisdiction; Jury. Trial. The Trust Assets; the rights, duties, and.
obligations arising under this Trust Agreement shall be governed by, and construed and enforced
in accordance with, the laws of the Commonwealth of Pennsylvania without giving effect to the:
principles of law thercof that would require the application of the laws of any other jurisdiction.
Each of the signatories hereto irrevocably submits to the non-exclusive jurisdiction of any State or
Federal court sitting in Allegheny County, Pennsylvania in respect of any action or proceeding
pertaining solely to. the construction of the Trust Agreement or the administration of the Trust.
_Each-party to this agreement irrevocably waives, to the fullest extent permitted: by applicable law,
any objection or defense. that it may now or hereafter have to the laying of venue of any such
proceedings pertaining solely to the construction of the Trust Agreement or the administration of
the Trust in any such court and any claim that any proceeding brought in any such court has been
brought in an inconvenient forum. EACH. PARTY HERETO HEREBY WAIVES. THE RIGHT
THAT IT MAY HAVE TO A TRIAL BY JURY ON ANY CLAIM, COUNTERCLAIM,
SETOFF, DEMAND, ACTION OR CAUSE OF ACTION PERTAINING SOLELY TO THE
CONSTRUCTION OF THE TRUST AGREEMENT.OR THE ADMINISTRATION OF THE
TRUST, IN ALL OF THE FOREGOING CASES WHETHER NOW EXISTING OR
HEREAFTER ARISING AND WHETHER SOUNDING IN CONTRACT, TORT OR
OTHERWISE. EACH OF THE SIGNATORIES HERETO HEREBY WAIVES PERSONAL
SERVICE OF THE SUMMONS, COMPLAINT AND OTHER PROCESS ISSUED IN. ANY
SUCH ACTION OR SUIT AND AGREES THAT SERVICE OF SUCH SUMMONS,

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COMPLAINT AND OTHER PROCESS MAY BE MADE BY REGISTERED OR CERTIFIED
MAIL ADDRESSED TO IT AT ITS NOTICE ADDRESS AS PROVIDED HEREIN AND THAT
SERVICE SO MADE SHALL BE DEEMED COMPLETED UPON SIGNATORY’S ACTUAL
RECEIPT THEREOF. Nothing in this Paragraph 6.4 shall be construed to establish choice of law,
jurisdiction, or venue, or waive any jury rights that may exist in connection with any proceeding
not solely pertaining to the construction of the Trust Agreement or the administration of the Trust.

6.5 Situs, The initial situs of the Trust shall be the State of Pennsylvania. With the
written consent of the Beneficiaries, the Trustee shall have the power to remove-all or part of the
Trust Assets or to change the situs of administration of the Trust from one jurisdiction to another
within the continental United States, and to elect, by a separate acknowledged instrument filed
with the Trust records, that, notwithstanding Section 6.4, the law of such other jurisdiction shall
govem the administration of the Trust, provided that the Trustee shall not make such an election
if it would alter any beneficial interest under the Trust. The Trustec’s atithority to change the situs
of administration of the Trust and elect that the laws of another jurisdiction shall thereafter govern
the administration of the Trust does not impose a duty on the Trustee to monitor the laws of any
jurisdiction other than the jurisdiction in which the Trust is then administered.

6.6 Severability. If any provision of this Agreement, or application thereof to any
person or circumstance, shall.be determined by the Court in a final judgment no longer subject to
appeal to be invalid or unenforceable to any extent, the remainder of this Agreement, or the
application of stich provision to persons or circumstances other than those.as to which it is held
invalid or unenforceable, shall not be affected thereby, and such provision of this Agreement shall
be valid and enforced to the fullest extent permitted by law consistent with the intent of the Parties
to allow funds for KDID O&M tobe available at relevant times.

6.7 Sufficient Notice, Subject to Section 4.6(t), any notice or other communication
required under this Agreement shall be in writing and shall be deemed to have been sufficiently
given, for all purposes, if: (a) sent by email; and (b) with respect to any notice or other
communication required pursuant to Sections 3.1.4, 3.3, 4.5, 4.6(0) or 4.8, also (i) sent through a
nationally recognized reliable overnight delivery service, or (ii) deposited, registered or certified
mail and first class postage prepaid, in a post office or letter box addressed to the person for whom
such notice is intended, to the name and address set forth below, or (iti) personally delivered to
such other address provided in writing to the other Parties hereto by an authorized representative
of the respective Party.

As to the State of Montana:

Montana Department of Environmental Quality
PO Box 200901 ,

Helena, MT 59620-0901

asicinmetz(amt gov

Attention: Amy Steinmetz

Montana Natural Resource Damage Program
P.O. Box.201425
Helena, MT 59620-1425

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Attention: Libby Asbestos Superfund Site Settlement Agreement
nrdp@mt gov

with a copy (which shall not constitute notice) to: khausrath(@mt.gov,
HarleyHarris@mt.gov, and jessica. wilkerson@mt.gov.

As to Grace:

Senior Vice President, Government Relations and EHS

W.R. Gtace & Co.

7500 Grace Drive

Columbia MD 21044 ~

with a copy (which shall not constitute notice) to: Asif Arshad@grace.com;
Tony. Penfold@erace.com: and Anthony. Yoo@egrace.com

As to the Trustee:

PNC Bank, NLA.

116 Allegheny Center
Mailstop: P-YB35-02-Z
Pittsburgh, PA 15212

With a copy to:

Deputy General Counsel, Asset Management Group
300 Fifth Avenue

Pittsburgh, PA 15222

6.8 Headings. The Section headings contained in this Agreement are solely for
convenience of reference and shall not affect the meaning or interpretation of this Agreement or
any term or provision hereof,

6.9 Consistency of Agreements and Construction. To the extent reasonably possible,
the provisions of this Agreement shall be interpreted in a manner consistent with the Settlement
Agreement. Where the provisions of this Agreement are irreconcilable with the provisions of the
Settlement Agreement, the provisions of the Settlement Agreement shall prevail.

6.10 Counterparts. This Agreement may be executed in-multiple counterparts, cach of
which shall be deemed an original that is binding on the signatory thereto, but all of which together
shall constitute one and the same instrument. Signatures to this Agreement transmitted by
facsimile, email, portable document format (or pdf), or by any other electronic means intended to
preserve the original graphic and pictorial appearance of this Agreement shall have the same effect
as the physical delivery of the paper document bearing original signatures.

The remainder of this page is left blank by intention.

Signatures are provided on the following page.

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KDW COMMENTS
10/1/22

IN WITNESS WHEREOF, the undersigned Parties and the Trustee enter into this
Agreement as of the date first above written.

FOR: THE STATE OF MONTANA:

By:

Name:

Title:

FOR W.R. GRACE & CO.

By:

Name:

Title:

FOR PNC BANK, NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY,
BUT SOLELY AS TRUSTEE:

By:

Name:

Title:

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APPENDIX I

AUTHORIZED PERSONS

KDW COMMENTS

10/1/22

The following named persons are officers, fiduciaries, agents, partners or other authorized persons duly elected or
appointed and authorized to sign written directions on behalf of {State/Grace] under this Agreement. The directions
of any one of the following persons is. sufficient untess a greater number appears here: {insert number).

Authorized Person Name

Title

Telephone
Number

E-mail Address

** Above information is required for all authdrized individuals**

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APPENDIX II
CERTIFICATION REGARDING BENEFICIAL OWNERS OF LEGAL ENTITY CUSTOMERS
1 GENERAL INSTRUCTIONS
What is the purpose of this form?

To help the government fight financial crime, federal regulation requires financial institutions to obtain, verify and
record information about.the beneficial owners of legal entity Clients, Legal entities can be abused to disguise
involvement in terrorist financing, money laundering, tax evasion, cormiption, fraud, and other financial crimes.
Requiring the disclosure of key individuals who. ultimately own of control a legal entity (Le., the beneficial owners)
helps law enforcement investigate and proseciite these crimes,

Who lias to complete this form?

This form must be completed by | the person opening or updating an account on behalf of a legal entity. For the
purposes of this form, a legal entity includes a corporation, limited liability company or other entity that is created by
a filing ofa public document with a Secretary of State or similar office, a general partnership, and any similar business
entity formed in the United States or a foreign country. Legal entity does not include sole proprietorships,
unincorporated associations, or individuals opening or updating accounts on their own behalf.

PLEASE CAREFULLY REVIEW THE CERTIFICATIONS IN THE GRAY
BOXES BELOW TO DETERMINE IF CLIENT IS EXCLUDED FROM
COMPLETING ALL OR PORTION OF THIS FORM.

What information. da I have to provide?

This form requires you to provide the name, address, date of birth and-Social Security number (or passport mumber or
other similar information, in the case of Non-US. Persons) for the following individuals (i.c., the beneficial owners)!

ti) Each individual, if any, who owns; directly of indirectly, 25 percent or more of the equity
interests of the legal entity CHent (e.g. each individual that owns 25 percent or more of the
shares of a corporation}: aud

(i) An individual with significant responsibility for managing the legal entity Client (e.g., a Chief
Executive Officer, Chief Financial, Officer, Chief Operating Officer, General Partner,
Managing Member, President, Vice President, or Treasurer). :
Regardless of the number of individuals identified under section (i), you must provide the identifying information of
one individual under section (ii). It is possible that in some circumstances the same individual might be identified
under both sections (e.8., the President of Acme; Inc. whio also holds 4 30% equity interest). Thus, a completed form

ly a trust, directly or indirectly, owns 25 percent or more of the equity interests of a legal entity, the wustee is deemed to be the
beneficial owner of the equily interest for purposes of this form and the trustee must complete this form with the trustee's information.
For accounts opened by an intermediary on behalf of the intermediary's underlying customer, the intermediary is deemed te be
legal entity subject to reporting under this form, not the intermediary's underlying customers. Accordingly, this form should be
completed by the intermediary entity with the intermediary’s infonmation.
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will contain the identifying information of at least one individual (under section (ii)), and up to five individuals (i:e.,
one individual under section (ii) and four 25 percent equity holders under section (1)).

You may also be asked to provide a copy of a driver’s license of othe? identifying document for each beneficial owner
and controlling party sted on this form.

Note regarding updating information: From time to time the information provided in this form may need to be
updated due to changes in the ownership or controlling party of the legal entity Client or its beneficial owners. Further,
from time to time PNC may be required to verify the continued accuracy of the information provided. .

IH. CLIENT CERTIFICATION FOR EXCLUDED LEGAL ENTITIES AND NON-PROFIT
CORPORATIONS

Excluded Legal Entity Certification. Below is a list-of Client entities that are net required to coniplete this form.
Please review the list below catefiully. If you determine that Client éntity. is an excluded legal entity, please camplete
the certification below,

THE REST.

DO NOT NEED TO COMPLETE

Lfuncti nal regulator (ie., federal
ns merchants and introdu

"US. financial institution” or ¢

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Non-Profit Corporation Certification (sce Excluded Legal Entities above for non-profit trust entities). Client

formed as a non-profit corporation or similar legal entity that does not have ownership interests (including, charitable,

nonprofit, not-for-profit, public benefit or similar corporations) are not required to complete the Beneficial Owner
sections of this form.

IF CLIENT. IS A NON-PROFIT, CORPORATION, PLEASE COMPLETE THE CERTIFICATION
BELOW AND PROCEED .TO SECTION lil. :
 . Client cettifies, ‘py. checking this box; itis a non-profit corporation or similar legal aitity 2
that has filed organizational documentation with the appropriate. State authority and, |
ational Association; will promptly provide to PNG: Bank,
py of its certificate of incorporation or certificate of goo :

tate in which the Client is incorporated. 2

National Association, a:
Standing sued by. th

IF CLIENT CANNOT MAKE ANY OF THE CERTIFICATIONS IN THE ABOVE BLUE BOXES, CLIENT
MUST COMPLETE SECTION II OF THIS FORM.

HI. CERTIFICATION OF BENEFICIAL OWNER(S)

Persons opening or updating an account on behalf of a legal entity must provide the following information:

a. Name, Type, Address, and Taxpayer Identification Number ( TIN} of Legal Entity for Which the Account is Being
Opened or Updated (1.e., the Client):

Entity Name:

Entity Type (e.g. Corporation, Partnership, etc:):

Entity Address:

Entity TIN:

b. Name and Title of Person Opening or Updating Account:

Name:

Title:

c. Beneficial Owner(s): The following information for each individual, if any, who, directly or indirectly,
through any contract, arrangement, understanding, relationship or otherwise, owns 25 percent or more of the
equity interests of the legal entity listed above.

if no individual meets the definition of “Beneficial Owner’ check the box
below and continue to Section Ili{d).

C) Beneficial Owner Not Applicable
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For U5, Persons: Indicate ifyon are a US. Citizen, US. Resident Alien ov Immigrant Refigee and provide
Social Seeurity Number (SSN) :

For Non-U.S. Persons: Provide SSN, Individual Taxpayer Identification Number (ITIN), Passport or Other

Acceptable 1D Infofmation
Namé % of Date of Residential Street | For U.S. For Non-US. Persons:
Owner Birth Address Persons:
ship

OU.S. Citizen:

Passport or Other

Acceptable ID Type:
U.S. Resident Seep eee
Alien
(7 Inunigrant ID
Refugee
Country of Issuance:
SSN #:
Be SSN /ITIN #:
C1 US. Citizen | Passport or Other
: Acceptable ID
CUS. Resident |e
' ype:
Alien
ID #:
Ci Immigrant
Refugee
Country of Issuance:
SSN ik

SSN / ITIN #:

Cl US. Citizen

Passport or Other

[A table ID

OUS. Resident Type. aoe
Alien RS:

ID #:
CD lmmigrant ns
Refugee

Country of Issuance:
SSN #:.

SSN7/TTIN #:

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C1 U.S. Citizen
(J U.S. Resident

Alien

0 Immigrant
Refugee

SSN #:

Passport or Other
Acceptable ID
Type:

ID #:

Country of Issuance:

SSN /ITIN #:

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Controlling Party: The following information for one individual with significant responsibility for managing the

legal entity listed above, such as:

*  Anexecutive officer or senior manager (e.g., Chief Executive Officer, Chief Financial Officer, Chief
Operating Officer, General Partner, Managing Member, President, Vice-President, Treasurer); or

* Any other individual whe regularly performs similar functions.
(if appropriate, an individual listed under Section l(c} above may also be listed in this Section Hid).

For U.S. Persons: Jiadicate ifyou are a US. Citizen, U.S. Resident Alien or Immigrant Refugee and provide
‘Social Securit: Number (SSN)
For Non-US, Persons: Provide SSN, Individual Taxpayer Identification Number (ITIN), Passport or Other

Acceptable 1D Information

Name Tithe

Date of
Birth

Residential
Street Address

For U.S. Persons:

‘For Non-U.S.

Persons:

US. Citizen

C] U.S. Resident
Alien

Cl Immigrant
Refugee

SSN #:

‘Passport or Other
Acceptable ID
Type:

ID #:

Country of Issuance:

SSN /ITIN #:

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Exhibit D - KDID Spillway Replacement Trust Form
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EXHIBIT D

, 2022

TRUST AGREEMENT

KDID Spillway Replacement Trust

This Environmental Remediation Trust Agreement (the: “Agreement”) is made as of this
__. day of 2022, by and among W.R. Grace & Co. and
Kootenai Revelopmeay Company (“KDC”) (collectively herein “Grace”), as settlor and
beneficiary; the State of Montana on behalf of its agencies and departments named in the
Settlement Agreement (the “State”) as beneficiary, (each, individually,a “Party,” and collectively,
the ““Parties”); and PNC Bank, National Association, not in its individual capacity, but solely as
Trustee (the “Trustee”).

RECITALS

WHEREAS, Grace and the State have entered into.a Settlement Agreement that provides
for the formation of this trust, to be administered in the manner described herein.

NOW, THEREFORE, in consideration of the foregoing premises andthe mutual covenants
and agreements contained herein, and pursuant to the Settlement Agreement, the Parties and the
Trustee hereby agrée as follows:

ARTICLE ]
DEFINITIONS

1.1 | Definitions. The following terms as used in this Agreemént shall have the
definitions given below:

1.1.1 “Account Statement” shall have the meaning given in Section 5.1.

1.1.2 “Agreement” shall be this Trust Agreement.
1.13 “Beneficiaries” means the State and Grace.

1.1.4 ‘Condition of Early Termination” shall mean cach of the conditions of
termination set out in Sections 6(a)(iil), 6(d)(i), or 6(e) of the Settlement Agreement. The terms in
the Settlement Agreement shall control whether 4 Condition of Early T ermination exists, however,
such conditions are summarized generally here for convenience:

(a) Section 6(a)(iii): United States Environmental Protection Agency
declines the opportinity. to become a primary beneficiary of the Surety Bond or Financial
Assurance Trusts, and requests and requires, and a Grace Party provides, financial assurance for
KDID O&M and/or KDID Spillway Work as part of an agreement, decree, or order that exceeds .
the value and scope of the financial assurance provided in this Settlement Agreement for KDID
O&M and/or KDID Spillway Work;
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(b) Section 6(d)(i): The KDID is required to be removed, substantially
or completely; or

(c) Section 6(e): Grace (or any merged successor entity that assumes
Grace’s obligations to the State under the Settlement Agreement) ceases to exist or fails to continue
to operate as a going concer. -

1.1.5 “Court” means the Court of Common Pleas of Allegheny County of the
Commonwealth of Pennsylvania, or, if that Court abstains from exercising jurisdiction or is
otherwise. without jurisdiction over any matter arising out of this Agreement, the Commonwealth
of Pennsylvania court otherwise having competent jurisdiction with respect to such matters. The
term “Court” does not refer to or include the federal bankruptcy court that enters the Settlement —
Agreement, which court shall have no continuing involvement with the administration of this Trust.

1.1.6 “DNRC” shall have the meaning set forth in the Settlement Agreement.

1.1.7 “Environmental Remediation” means actions taken arid costs paid in
accordance with as provided under Treasury Repulations § 301.7701-4(c)(1), including the costs of
assessing environmental conditions, monitoring remedial activities, preventing future releases, and
otherwise implementing the requirements of the Settlement Agreement.

1.1.8 “Internal Revenue Code” or means the Internal Revenue Code of 1986, as
amended; and “Treasury Regulatioris” means regulations promulgated under the Internal Revenue
Code and published in Title 26 of the Code of Federal Regulations, as amended.

1.19 “Including” shall not be read restrictively, and shall mean including but
not limited to.

LL.10 “KDID” shall have the meaning set forth in the Settlement Agreement.

Ld] “KDID O&M Performance Trust’ shall have the meaning set forth in the
Settlement Agreement. . .

1.1.12 "KDID Spillway” shall have the meaning set forth in the Settlement

Agreement.

1.1.13 “KDID Spillway Work” shall have the meaning set forth in the Seitlement

Agreement,

41.114 “KDID-Spillway Work Costs” shall include, without limitation, (x).all costs
incurred to conduct KDID Spillway Work (including funding for all work and associated activities,
planning, implementation, post-implementation tasks, and costs for materials and equipment
necessary or reasonable for purposes of conducting KDID Spillway Work), (y) all costs incurred
for purposes related to the KDID Spillway or the KDID in accordance with a post-2072 written
agreement of the Parties submitted to the Trustee pursuant to Section 3.3.1 of this Agreement
(provided that the Trustee shall have no duty to verify or confirm consistency with such post-2072
written agreement), and (z) all fees and expenses (including reasonable consulting and legal fees
and expenses) associated with the Trustee’s activities hereunder. —

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1.1.15 “Nonperformance Determination” shall have the meaning set forth in the
Settlement Agreement. ,

1.1.16 “Parties” under this Agreement shall have the meaning given in the
preamble,

1.1.17 “Settlement Agreement” means the Settlement Agreement between W.R.
Grace & Co. and the State, dated as of , 2022, negotiated and entered to -
settle the claim namber 18496-1 in Jy re WOR. Grate & Co., et al., before the United States
Bankruptcy Court for the District of Delaware, under Case No. 01-011139 (AMC), as amended
by W.R. Grace & Co. and the State hereafter, i in accordance with the terms of the Settlement
Agreement.

1.1.18 “State” shall have the meaning given in the preamble.
1.1.19 “Statement” shall have the meaning given in Section 3.2. 1{a).

1,1.20 “Trust? means the KDID Spillway Replacement Trust established pursuant
to this-Agrecment.

Li2Y “Trust Assets” means the funds transferred to, or earned by, the Trust
pursuant to this Agreement.

_ 1.1.22 “Trustee” means the trustee of the Trust. At any time that multiple trustees
are acting, the term “Trustee” shall apply to each of the co-trustees.

12 Other. To the extent a term in this Agreement is -not defined above, to the extent
‘practicable, such term shall have the meaning provided, if any, in the Settlement Agreement.

ARTICLE |
CREATION AND MANAGEMENT OF TRUST ASSETS

2.1 Objectives and Purposes.

2.4.1, General. The exclusive objectives.and purposes of the Trust are to collect
and disburse funds for KDID Spillway Work Costs, as required under the Settlement Agreement,
with no objective or authority to engage in any trade or business. Subject to Section 3.3.1 of this
Agreement, all payments and disbursements from the Trust by the Trustee shall be made and
applied solely for these purposes, it being understood and agreed that any payments to the Trustee
pursuant to this Agreement arc in furtherance of such purposes; and at-no time shall the Trust (or
the Trustee on behalf of the Trust) conduct investment or business activities that compromise these
purposes.

2.1.2 Fax Status. Initially, Grace intends, but is not required to ensure, that the
Trust constitutes ait “environmental remediation trust,” as provided by Treasury Regulations
§301.7701-4(e); and the Trist shall at all times be administered, and all provisions of this agreement
shall be construed, in a manner that is consistent with such intent. At any time, however, , Grace
may take sich steps as are required to elect to treat the Trust as a “qualified settlement fund,” as
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provided by Treasury Regulations §1.468B-1; and, following such election, the Trust shall at all
times be administered, and all provisions of this agreement shall be construdd, in a manner that is
consistent with such intent. Grace intends that it be considered to be the Trust’s “administrator,”
within the meaning of Treasury Regulations. Neither the State nor the Trustee shall have any duty
or obligation in connection with the tax treatment of the Trust, other.than to cooperate in good faith
with Grace in connection therewith. Grace shall be solely responsible for ensuring compliance with
the Regulations required ofan environmental remediation trust or qualified settlement fund, as the
case may be. Neither the State nor the Trustee shall be responsible for preparing or filing any reports
or returns relating. to. federal, state, or local income taxes with respect to this Agreement other than

the Trustee’ preparing or filing returns or reports for the Trustee’s compensation; provided, that the
“Trustee hereby is authorized to execute-and deliver any tax retums in:such forms presented to itand
shall have no liability with: respect to the preparation or content of such tax.returns. With respect to
any amounts payable under this Agreement, the Parties shall deliver to the Trustee such tax forms.
or other documents reasonably requested by the Trustee as shall be prescribed by. the Internal
Revenue-Code. or other applicable law at such time or times reasonably required by the Trustee;
including such tax forms or other documents, as applicable, to allow the Trustee to determine the:
amount to deduct or withliold (and to allow the Trustee to so deduct or withhold) pursuant tothe
Internal Revenue ‘Code, including under Sections 1471. through 1474. of the Code (FATCA).
Without limiting any other provision of this Agreement, thé State expresses nie opinion and makes
no agreements regarding the tax status of the Trust, but leaves such matters and the resulting: tax
consequences to Grace's discretion.

22 Creation of and Transfer-of Assets to the Trust.

2.2.1 Establishment of Trust: The Parties hereby irrevocably establish the. Trust,
which shall bear.the name “KDID Spillway Replacement Trust.” Within five (5) business days of.
the date hereof, the Trustee shall establish a trust account (the “Trust Account”). The purpose of
the Trust Account shall be to-receive and administer the Trust Assets and to facilitate the making
of payments heretnder, all in accordance with this Agreement. Grace shall contribute the Trust
Assets to the Trust in the mannér and at the times set forth in the Settlement Agreement. The State
shall have no obligation to contribute assets or property to the Trust at any time. The Trustee hereby:
accepts and agrees to hold the Trust Assets in the Trust Account for the benefit of the Beneficiaries
for the purposes described in Section 2.1, subject to the terms of this Agreement. The Trustce shall
have no responsibility, and assumes no liability, to pursue collection of Trust Assets. to be.
contributed under'the Settlement Agreement from any source. Instead, all obligations with respect
to the Settlement Agreement’s requiréments for funding of the Trust are to be solely exercised by
Grace.

2.2.2 Ownership Trust Assets. All legal rights and incidents of ownership ‘of the
Trust Assets shall be held solely by the Trustee. However, except and until otherwise provided in
this Agreement, Grace shall be treated as the owner of the Trust Assets for federal income. tax
purposes.pursuant to Treasury Regulations § 301.7701-4(e)(2).

2.2.3 Additional Contributions, ‘The Trustee 1s authorized to accept coritributions
to the Trust from, and only from, the Parties. The Trustee is not required to accept any contribution
that the Trustee believes. is not appropriate for administration as part of the Trust Assets.

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2.3 Investment and Safekeeping of Trust Assets.

2.3.1 Segrepation of Trust Assets. The Trust Assets shall be held in trust and
segregated from all, and shall not be comingled with any, other assets of Grace, the State or the
Trustee:

‘2.3.2. Investment Requirements. The Trustee shall have the atithority to invest the
Trust Assets-in such a manner as the Trustee deems-appropriate in the Trustee’s discretion and in
accordance with the guidelines applicable to the Trust Account set forth in this Section 2.3 (the
“Investment Policy”), as may be amended in writing from time to time by Grace, the State and the
Trustee. The Trustee shall consult initially and from time to time with Grace and the State regarding
the nature and allocation of investments of the Trust Assets. All investment transactions effected
forthe Trust Account shall be deemed in compliance with the Investment Policy unless. Grace’ or
the State notifies Trustee in writing of its objection within sixty (60) days of its receipt of the most
recent Account Statement pursuant to- Section 5.1 of this Agreement. The compliance of an
investment with the Investment Policy shall be determined on the date of purchase, based-on the
market value and’ asset class or type as of that date compared to the value of the Trust Account as
of the most recent valuation date.

2.3.3 Investment Provisions.

(a) Cash Sweep Vehicle. Grace authorizes the Trustee to automatically
sweep uninvested cash balances in the Trust Account into (i) any money market mutual. fund that
(A) complies with the criteria-set forth in (1) Securities and Exchange Cominission Rule 2a-7 under
‘the Investment Company. Act of 1940, as amended, or (ID) Securities and Exchange Commission
Rule 3c-7 whder the Investment Company Act of 1940, as atnended, and (B) has portfolio assets
of at least $5,000,000,000 or (ii) any bank deposit account offered by : a commercial bank which
has a combined capital and surplus and undivided profits of not less than $500,000,000,.in each
chosen by. Trustee (referred to as “sweep vehicles”), which may include sweep vehicles advised
by the Trustee and/or its affiliates or deposit accounts at the Trustee or an affi lated bank. Grace
understands that Trustée. will derive financial benefits from affiliated sweep vehicles (including
PNC Bank, National Association deposit sweep accounts), which benefits are in addition to the
fees'set- forth in the Schedule of Account Fees describéd in Section 4.5 of this Agreement:

(b) Investments-in Other Securities. Grace authorizes the. Trustee to
invest-in: (i) direet obligations of, or obligations the principal of and interest on which are directly
and fully guaranteed or insured by, the United States of America (or by any agency thereof to the
extent such obligations are backed by the full faith and credit of the United States of America); (ii)
investments in commercial paper having, at such date of acquisition, a credit rating of at ‘Teast A-2
from S&P or P-2 from Moody's: (iii). repurchase agreements with a term of not more than 180 days
for sécurities described in clause (i)-of this sentence and entered into with a financial institution
‘satisfying the criteria described in clause (ii) of Section 2.3.3(a); (iv): corporate debt obligations
‘with a Moody's rating of at least A3. or an S&P rating of at least A-, or their equivalent; (v) shares
or units issued by a company that is registered as an investment company under the Investment
Company Act of 1940, as amended, that is traded on a national securities exchange and has a rating
of at least four stars from Morningstar, Inc.; and (vi) any other security approved in. writing by
Grace anid the State (collectively, “Other Securities”). “Moody’s” means. Moody’s Investors

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Service, Inc, “S&P” means Standard & Poor’s Rating Services, a Standard & Poor’s Financial
Services LLC business. In cach case, Grace understands that the Trustee may receive financial or
advisory fees related to the issuance of the security or instrument, including securities or
instruments for which Trustee (or its affiliates) serve(S) as manager, promoter or placement. agent
or where:Trustee (or its affiliates) has issued, structured or underwritten, the Other Securities.

(c) Disclosure Regarding Use of Affiliated Products and Services.
Grace understands and agrees that the Trustee may, if appropriate for the Trust Account, (1) invest
in Funds or Other Securities that are affiliated with Trustee-and that these affiliated investments
may constitute all of the investments in the Trust Account; (ii) engage subadvisors affiliated with
the Trustee to manage all or a portion of the assets in the Trust Account; and/or (iii) engage model
portfolio providers in connection with management of assets in the Trust Account. Grace further
understands that the Trustee may derive financial and other benefits asa result of the Trustee:
purchasing Funds or Other Securities affiliated with Trustee or utilizing subadvisors and/or model
portfolio providers affiliated with Trustee.

(d) Disclosure Resarding Additional Fund Fees. -Grate indérstands
that-the Trustec (and/or its affiliates) may provide advisory or other services to a company that is:
registered as-an investment comparty under the Investment Company Act of 1940, as amended, (a
“Fund”) which is selected for the Trust Account and that the. Trustee: may receive advisory,.
recordkeeping, administrative, shareholder servicing, and/or other fees for such advisory and other:
services. These types of fees are paid, directly or indirectly, by the Fund to the Trustee (and/or its
affiliates) and are described in. detail in the prospectus, private offering memorandum: or other
offering documents for the Fund. Grace should: carefully read these: documents since these. fees’
will ultimately be borne by the Trust as‘an investor in the Fund through the net‘asset value of the
Fund and cost of Fund shares or units. Fees received by the Trustee from the Funds are in addition
to the compensation paid.to the Trustee under this. Agreement and may result.in the Trust paying
multiple layers of fees for the same asset. Purchases of Fund shares will be made in accordance:
with Trustee’s standard practices in effect from time to time.

(e) Special Disclosures for Fund Shares.. Grace understands that Funds
and Other Securities available through the Trustee are not backed or guaranteed by the Trustee (or
its affiliates), are not bank deposits and are not insured by, issued by, guaranteed by or obligations
of the Federal Deposit Insurance Corporation, the Federal Reserve Board or-any other government
agency. Such Funds and Other Securities involve investment risks, including possible loss: of
value. There is no assurance that sweep vehicles will-be able to maintain a stable net-asset value
6f $1.00 per share. For more complete information about Funds, including charges and expenses,
Grace shall refer to the prospectus, private offering memorandum or other offering documents for:
the Funds. Grace acknowledges (i) that it understands the information set forth in this Section
2.3.3 and (ii) receipt and review of the prospectus or summary prospectus, private offering
memorandum or other offering documents for the selected Funds.

fH ‘Trustee Selected Brokers. Grace agrees that in cases where. the
Trustee selects brokers for trades, the Trustee may select brokers that are not affiliated with Trustee
or brokers that are affiliated with Trustee. Grace consents to transactions for the Trust Account
being executed through brokers affiliated with the Trustee.in accordance with this Agreement and
the affiliated broker’s execution policies. Grace may revoke the consent provided in this Section

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at any time by directions to the Trustee. If the Trustee: buys or sells securitics for which an
affiliated broker acts as a dealer or underwriter, the Trustee may buy those securities fram, or sell
those securities to, either the affiliated broker or a member of an underwriting syndicate of which
an affiliated broker is a.member. Grace consents to brokers. selected by. the Trustee. retaining
commissions, including an affiliate of the Trustee. Grace further agrees that, if execution is
through an affiliated broker, the affiliated broker is entitled to receive and retain, without credit or
offset, brokerage commniissions, commission equivalents, mark-ups, mark-downs- and dealer
spreads on transactions effected for the Trust Account, in accordance with the affiliated broker’s
standard fee schedules. Upon request, the Trustce will provide additional information to Grace
concerning commissions, commission equivalents, mark-ups and -mark-downs: and other
transaction costs. Grace understands and agrees that the Trustee has an indirect financial incentive
to select an affiliated broker to execute: transactions in the. Trust Account, :as it results in
“compensation to its.affiliate.

(g) Brokerage Fees and Pricing. The Trustee: will seek to obtain best:
execution in selection of brokers (botli affiliated and unaffiliated, as applicable) for execution of
securities trades for the Trust Account. When selecting brokers the Trustee may take into account
the full range and quality of brokerage. services including execution capability, trading. expertise,
accuracy of execution, commission rates, rescarch, reputation and integrity, fairness in resolving
disputes, financial responsibility, responsiveness, and any other relevant factors: The Trustee also
amay. consider brokerage and research services provided by brokers even though the Trust Account
may not benefit from such research. Broker commission rate is one component of price: anda factor
considered with other factors: The Tristee will not.be obligated:to seek the lowest Commission
‘rate in advance of a Trust Account transaction or. io. select: brokers based on its purported
commission rate. Accordingly, the Trustee shall not be deemed to have acted unlawfully solely for
causing Grace to pay a higher commission for a-securities trade than other brokers would have
charged for the same transaction.

(h) Aggregation of Trades. The. Trustee may, in its. sole discretion, but
‘is not required to, combine purchases -and sales of securities held in the. Trust Account with
purchases and sales occurring on the same day of the same securities held in accounts of other
clients of the Trustee (or its affiliates), When securities transactions are combined, the actual prices
applicable to the combined transactions may be averaged, and the Trust Account and the other
accounts may be deemed to have purchased or sold their proportionate shares of the securities
involved at the average price then calculated. Grace understands that the Trustee may not be able
to seck better pricing or lower costs on securities transactions by combining Trust Account
securities transactions as described in this Section: 2.3.3(h) ‘and ‘that combined securities
transactions may or may not benefit the Trust Account.

2.3.4 Coristruction of Investment Authority, Nothing. in this Section shall be
construed as authorizing the Trustee to cause-the Trust to-carry on any business or.to divide the
gains therefrom, including the business of an investment company, or a company “controlled” by
an “investment company,” required to register as such under the Investment Company Act of 1940,
as amended. The sole purpose of this Section 2.3 is to authorize the investment of the Trust Assets
or any portions thereef as may be reasonably prudent pending use of the Trust Assets. for the
purposes of the Trust. Each of the Beneficiaries acknowledge and agree to the provisions of Section
2.3:

